                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN


JOVAN WILLIAMS,

             Plaintiff,

      v.                                             Case No. 19-CV-1699

KRISTIN J. JENSEN, et al.,

             Defendants.


                                      ORDER


        Plaintiff Jovan Williams is representing himself in this § 1983 case. On

October 20, 2020, he filed a motion to compel the defendants to respond to his

discovery requests. He served interrogatories and document requests in early

September, to which the defendants have not yet responded.

      Civil Local Rule 37 requires that all motions to compel include “a written

certification by the movant that, after the movant in good faith has conferred or

attempted to confer with the person or party failing to make disclosure or discovery

in an effort to obtain it without court action, the parties are unable to reach an

accord.” That’s a long way of saying that, before filing a motion to compel, a party

needs to first discuss its dispute with the opposing party’s lawyer before asking the

court to get involved. And, if they cannot work out the dispute, necessitating a motion

to compel, the party moving to compel must include in his motion proof that he first

tried to work out the dispute with the opposing party’s lawyer.




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      Williams did not comply with Local Rule 37, so the court will deny his motion.

Parties are often able to resolve their disputes without the court’s help. Informal

resolution without the court’s involvement saves both the court and the parties time

and resources. Williams should contact defense counsel (preferably by letter) to get a

better understanding of why the defendants have not yet responded to his discovery

requests. It may be that the defendants require a short extension of time or that there

is some confusion over what information Williams is seeking. A brief discussion may

easily resolve whatever issues exist and save everyone the time and effort of briefing

a motion to compel. The court encourages the parties to keep one another informed of

the challenges they face (i.e., they should not simply ignore deadlines) and to work

with one another in good faith.

      THEREFORE, IT IS ORDERED that Williams’s motion to compel the

defendants to respond to his discovery requests (ECF No. 40) is DENIED.

      Dated in Milwaukee, Wisconsin, this 21st day of October, 2020.

                                              BY THE COURT:




                                              WILLIAM E. DUFFIN
                                              U.S. Magistrate Judge




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